Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 1 of 50 PagelD #:841 c
N

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES OF AMERICA

Vv. Case No. 09 CR 332

Violations: Title 18, United States Code,
Sections 2, 924(c), 1957, 1959, 1962(d); Title
21, United States Code, Sections 841(a)(1)

and 846 oo a
MAGISTKALE JuuGE COX
Judge Joan B. Gottschall

SAUL RODRIGUEZ,
GLENN LEWELLEN,
HECTOR URIARTE,

also known as “Gordo” and “G,”
JORGE URIARTE,

also known as “Lefty,”
MANUEL URIARTE,

also known as “Manny,”

ANDRES FLORES,

also known as “Turtle,”
TONY SPARKMAN,

also known as “Black” and

“Big Black,”
FARES UMAR,

also known as “Sumo,”
WALTER JOHNSON,

also known as “Wheels,”
JORGE LOPEZ,

also known as “Oso” and “O,” and

ROBERT CARDENA

THIRD SUPERSEDING INDICTMENT

Nee ee Ne ee eee ee ee ee ee ee ee eee ee es ee ee ee

FILED

JAN 13 2011 NF

MICHAEL W. DOBSINS
CLERK, U.S. DISTRICT COURT

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 2 of 50 PagelD #:842

COUNT ONE

The SPECIAL JANUARY 2009 GRAND JURY charges:
RACKETEERING ENTERPRISE

At times material to this indictment:

1. There existed a criminal organization, that is, a group of individuals consisting of
defendants SAUL RODRIGUEZ, GLENN LEWELLEN, HECTOR URIARTE, JORGE
URIARTE, MANUEL URIARTE, ANDRES FLORES, TONY SPARKMAN, FARES UMAR,
as well as Andres Torres, Pedro Victoria, and others known and unknown to the Grand Jury;

2. This criminal organization, including its leadership, membership and associates,
constituted an “enterprise” as that term is used in Title 18, United States Code, Section 1961(4)
(hereinafter, the “Rodriguez Enterprise’), that is, a group of individuals associated in fact, which
enterprise was engaged in, and the activities of which affected, interstate and foreign commerce;
and

3. The Rodriguez Enterprise constituted an ongoing organization whose members

functioned as a continuing unit for the common purpose of achieving the objectives of the

enterprise.

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 3 of 50 PagelD #:843

PURPOSES OF THE ENTERPRISE

4, The purposes of enterprise included, but were not limited to, the following:

a. Enriching the leaders, members, and associates of the enterprise through
the use of threats, intimidation, and violence including, but not limited to, acts of murder,
kidnapping, robbery, and the illegal trafficking of controlled substances.

b. Promoting and enhancing the enterprise and its members’ and associates’
activities.

c. Keeping victims in fear of the enterprise and in fear of its leaders,
members, and associates through threats of violence and violence. The leaders, members, and
associates of the enterprise undertook steps necessary to prevent the detection of their criminal
activities, and sought to prevent and resolve the imposition of any criminal liabilities upon their
leaders, members, and associates, by the use of violence and intimidation directed against
victims, witnesses, and others.

d. Obstructing justice and criminal investigations by gathering information
concerning the fact of, and extent of, ongoing federal criminal investigations from, among other

sources, former and current local law enforcement officers.

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 4 of 50 PagelD #:844

ROLES IN THE ENTERPRISE
5. At times material to this indictment, the defendants performed multiple roles
within the enterprise that included, but were not limited to, the following:

a. SAUL RODRIGUEZ was a leader of the enterprise. In that role,
RODRIGUEZ oversaw, directed, guided, and participated in the illegal activities of the
enterprise, including, but not limited to, murder, kidnapping, robbery, and the illegal trafficking
of controlled substances. RODRIGUEZ oversaw how the proceeds of the enterprise’s illegal
activities were divided among the enterprise’s members and associates.

b. GLENN LEWELLEN served the enterprise by, among other things,
directing and participating in the illegal activities of the enterprise, including, but not limited to,
obstruction of justice, kidnapping, robbery, and the illegal trafficking of controlled substances.
Between December 1986 and 2002, LEWELLEN was employed as a police officer by the
Chicago Police Department. LEWELLEN provided certain members and associates of the
enterprise with information concerning the fact of, and extent of, ongoing federal criminal
investigations into the enterprise’s illegal activities.

C. HECTOR URIARTE served the enterprise by, among other things,
directing and participating in the illegal activities of the enterprise, including, but not limited to,
kidnapping, robbery, and the illegal trafficking of controlled substances.

d. JORGE URIARTE served the enterprise by, among other things, directing
and participating in the illegal activities of the enterprise, including, but not limited to,

kidnapping, robbery, and the illegal trafficking of controlled substances.

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 5 of 50 PagelD #:845

e. MANUEL URIARTE served the enterprise by, among other things,
participating in the illegal activities of the enterprise, including, but not limited to, murder and
kidnapping.

f. ANDRES FLORES served the enterprise by, among other things,
participating in the illegal activities of the enterprise, including, but not limited to, kidnapping,
robbery, and the illegal trafficking of controlled substances.

g. TONY SPARKMAN served the enterprise by, among other things,
participating in the illegal activities of the enterprise, including, but not limited to, kidnapping,
robbery, and the illegal trafficking of controlled substances.

h. FARES UMAR served the enterprise by, among other things, participating
in the illegal activities of the enterprise, including, but not limited to, kidnapping, robbery, and
the illegal trafficking of controlled substances.

i. Andres Torres served the enterprise by, among other things, participating
in the illegal activities of the enterprise, including, but not limited to, kidnapping, robbery, and
the illegal trafficking of controlled substances.

j. Pedro Victoria served the enterprise by, among other things, participating
in the illegal activities of the enterprise, including, but not limited to, kidnapping, robbery, and

the illegal trafficking of controlled substances.

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 6 of 50 PagelD #:846

RACKETEERING CONSPIRACY

6. Beginning no later than in or about 1996, and continuing until at least on or about
April 9, 2009, in the Northern District of Illinois, Eastern Division, and elsewhere,

SAUL RODRIGUEZ,
GLENN LEWELLEN,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,”
MANUEL URIARTE,
also known as “Manny,”
ANDRES FLORES,
also known as “Turtle,”
TONY SPARKMAN,
also known as “Black” and “Big Black,” and
FARES UMAR,
also known as “Sumo,”

defendants herein, and Andres Torres and Pedro Victoria, together with others known and
unknown to the Grand Jury, being persons employed by and associated with the enterprise, which
engaged in, and the activities of which affected, interstate and foreign commerce, knowingly, and
intentionally conspired to violate Title 18, United States Code, Section 1962(c), that is, to
conduct and participate, directly and indirectly, in the conduct of the affairs of that enterprise
through a pattern of racketeering activity consisting of multiple acts indictable under the
following provisions of federal law:

Title 21, United States Code, Sections 841 and 846 (drug trafficking);

Title 18, United States Code, Section 1951 (robbery); and

Title 18, United States Code, Section 1503 (obstructing the due administration of

justice);
Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 7 of 50 PagelD #:847

and multiple acts involving state offenses chargeable under the following provisions of
state law:
Murder in violation of Title 720, Illinois Compiled Statutes, Sections 5/5-1, 5/5-2,
5/8-1.1, 5/8-2, 5/8-4, and 5/9-1;
Kidnapping in violation of Title 720, Illinois Compiled Statutes, Sections 5/5-1,
5/5-2, 5/10-1, 5/10-2;.and
Robbery in violation of Title 720, Illinois Compiled Statutes, Sections 5/5-1, 5/5-
2, 5/8-4, 5/18-1, and 5/18-2.
7. It was a further part of the conspiracy that each defendant agreed that a conspirator
would commit at least two acts of racketeering activity in the conduct of the affairs of the

enterprise.

MEANS AND METHODS OF THE CONSPIRACY

8. It was further part of the conspiracy that the means and methods by which the
defendants and their associates conducted and participated in the conduct of the affairs of the
enterprise included the following:

a. Members of the enterprise and their associates murdered individuals in
exchange for money or access to wholesale quantities of controlled substances.

b. Members of the enterprise and their associates identified victims from
whom they could obtain wholesale quantities of controlled substances or large sums of money by
kidnapping those individuals and holding them for ransom or robbing them.

c Members of the enterprise and their associates conducted surveillance of

the enterprise’s intended murder, kidnapping, and robbery victims.
Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 8 of 50 PagelD #:848

d. Members of the enterprise and their associates obtained, used, carried,
possessed, brandished, and discharged firearms in connection with the enterprise’s illegal
activities, including, but not limited to, murder, kidnapping, robbery, and illegal trafficking of
controlled substances.

e. Members of the enterprise and their associates used a vehicle made to
appear as if it was an unmarked police vehicle to facilitate the kidnapping and robbery of the
enterprise’s victims.

f. Members of the enterprise and their associates held themselves out as
police officers when kidnapping and robbing victims.

g. Members of the enterprise and their associates transported kidnapping and
robbery victims in vehicles to homes and garages under the enterprise’s control.

h. Members of the enterprise and their associates restrained kidnapping and
robbery victims to prevent their escape and identification of the members of the enterprise and
their associates.

i. Members of the enterprise and their associates used threats of violence,
violence, and intimidation to cause kidnapping and robbery victims to provide wholesale
quantities of controlled substances and/or large sums of money to secure their release.

j. Members of the enterprise and their associates used threats of violence,
violence, and intimidation to cause kidnapping and robbery victims and witnesses to those crimes
not to report the kidnapping and robberies to law enforcement.

k. At least one of the members of the enterprise and their associates

obstructed justice to protect and conceal the enterprises’s illegal activities, including but not

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 9 of 50 PagelD #:849

limited to, the December 21, 1999 false testimony of GLENN LEWELLEN in United States v.

Refugio Ruiz-Cortez, 99 CR 493 (N.D. IL.).

1. The murders committed by members and associates of the enterprise in the

conduct of the affairs of the enterprise included, but are not limited to, the following:

(1)

The June 3, 2000 murder of Juan Luevano by SAUL

RODRIGUEZ, MANUEL URIARTE, and others known and
unknown; and

(2) The May 31, 2001 murder of Michael Garcia by SAUL
RODRIGUEZ, MANUEL URIARTE, and others known and
unknown.

m. The robberies and kidnappings committed by members and associates of

the enterprise in the conduct of the affairs of the enterprise included, but are not limited to, the

following:

(1)

(2)

(3)

(4)

The 2002 kidnapping of Victim D by SAUL RODRIGUEZ,
HECTOR URIARTE, JORGE URIARTE, FARES UMAR, and
others known and unknown, resulting in the possession of
approximately $110,000 by members of the enterprise;

The Summer 2003 kidnapping of Victim G by SAUL
RODRIGUEZ, GLENN LEWELLEN, HECTOR URIARTE,
JORGE URIARTE, FARES UMAR, and others known and
unknown, resulting in the possession of approximately 100
kilograms of cocaine and cocaine proceeds by members of the
enterprise;

The November 18, 2003 kidnapping of Victim H by SAUL
RODRIGUEZ, FARES UMAR, and others known and unknown;

The 2004 kidnapping of Victim I by SAUL RODRIGUEZ,
HECTOR URIARTE, JORGE URIARTE, and others known and
unknown;

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 10 of 50 PagelD #:850

(5)

(6)

(7)

The Summer 2006 kidnapping of Victim M and Victim N by
SAUL RODRIGUEZ, HECTOR URIARTE, JORGE URIARTE,
and others known and unknown; and

The October 2007 kidnapping and robbery of Victim O, Victim P,
Victim Q, Victim R, Victim S, Victim T, and Victim U by SAUL
RODRIGUEZ, HECTOR URIARTE, JORGE URIARTE,
ANDRES FLORES, TONY SPARKMAN, and others known and
unknown, resulting in the possession of approximately $2,000 by
members of the enterprise.

The 2008 kidnapping and robbery of Victim V and Victim W by
SAUL RODRIGUEZ, HECTOR URIARTE, JORGE URIARTE,
TONY SPARKMAN, and others known and unknown, resulting
the possession of approximately $1,500 by members of the
enterprise.

n. The instances of possession and attempted possession of narcotics

committed by members and associates of the enterprise in the conduct of the affairs of the

enterprise included, but are not limited to, the following:

(1)

(2)

(3)

The 2004 possession with intent to distribute 5 kilograms or more
of mixtures and substances containing cocaine by SAUL
RODRIGUEZ, GLENN LEWELLEN, and others known and
unknown.

The Summer 2006 possession with intent to distribute 5 kilograms
or more of mixtures and substances containing cocaine by SAUL
RODRIGUEZ, HECTOR URIARTE, JORGE URIARTE,
ANDRES FLORES, TONY SPARKMAN, and others known and
unknown.

The April 9, 2009 attempted possession with intent to distribute 5
kilograms or more of mixtures and substances containing cocaine
SAUL RODRIGUEZ, HECTOR URIARTE, JORGE URIARTE,
ANDRES FLORES, TONY SPARKMAN, and others known and
unknown.

10

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 11 of 50 PagelD #:851

0. Members of the enterprise and their associates purchased wholesale
quantities of controlled substances that they then distributed and caused to be distributed to
wholesale customers in the Chicago area and elsewhere.

p. Members of the enterprise and their associates obtained wholesale
quantities of controlled substances from locations in the Chicago area through robberies and
kidnappings, threats of violence, violence, and intimidation. Members of the enterprise and their
associates then distributed and caused the wholesale quantities of controlled substances to be
distributed to wholesale customers in the Chicago area and elsewhere.

q. Members of the enterprise and their associates used warehouses in the
Chicago area to store controlled substances and United States Currency derived from their sale of
controlled substances.

I. Members of the enterprise and their associates obtained and used. trap
compartments in homes and vehicles to conceal and store controlled substances, money, and
firearms.

S. Members of the enterprise and their associates shared in the proceeds of
the enterprise’s illegal activities, including, but not limited to: murder, kidnappings, robberies,
and trafficking of controlled substances.

t. Members of the enterprise and their associates invested proceeds from
their participation in the enterprise’s illegal activities in real estate and businesses to conceal their
involvement in and proceeds from the enterprise’s illegal activities.

u. Members of the enterprise and their associates obtained information about

the fact of, and the extent of, federal investigations into the enterprise’s illegal activities.

11

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 12 of 50 PagelD #:852

Members of the enterprise and their associates used that information to evade detection by law
enforcement.

v. Members of the enterprise and their associates used multiple cellular
telephones and pagers to communicate with one another concerning and during the commission
of the enterprise’s illegal activities.

wW. Members of the enterprise and their associates concealed and hid, and
cause to be concealed and hidden, the purposes of the acts done in furtherance of the enterprise,
and would and did use coded language, surveillance and counter-surveillance techniques, and
other means to avoid detection and apprehension by law enforcement authorities and otherwise to

provide security to members of the enterprise.

NOTICE OF SPECIAL FINDINGS & ENHANCED SENTENCING
AS TO THE RACKETEERING CONSPIRACY

9. On or about June 3, 2000, at Cicero, in the Northern District of Illinois, Eastern
Division, defendants SAUL RODRIGUEZ and MANUEL URIARTE, and others, known and
unknown to the Grand Jury, committed and caused to be committed, the murder of Juan
Luevano. By the conduct described in this paragraph, the defendants committed an act and threat
involving murder, in violation of Title 720, Illinois Compiled Statutes, Sections 5/5-1, 5/5-2,
5/9-1, 5/9-1(b)(5), 5/9-1(b)(9), and 5/9-1(b)(11), and Title 7390, Illinois Compiled Statutes,
Sections 5/5-8-1(a)(1)(b), 5/5-8-1(a)(1)(c)(ii), and 5/5-8-1(a)(1)(d)(iii), in that they killed an
individual, that is, Juan Luevano, without lawful justification and, in performing the acts which
caused the death, they: (i) intended to kill that individual and/or another; (11) intended to do great

bodily harm to that individual and/or another; (iii) knew such acts would cause the death of that

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 13 of 50 PagelD #:853

individual and/or another; and (iv) knew such acts created a strong probability of death and great
bodily harm to that individual and/or another; and

(A) at the time of the commission of the offense, they had attained the
age of 18 or more, and: (i) they committed the murder pursuant to a
contract, agreement or understanding by’ which they were to
receive money and anything of value in return for committing the
murder and procured another to commit the murder for money and
anything of value; and (ii) they committed the murder in a cold,
calculated, and premeditated manner pursuant to a preconceived
plan, scheme, or design to take a human life by unlawful means,
and the conduct of the defendants created a reasonable expectation
that the death of a human being would result therefrom; and

(B) _ irrespective of the defendants’ age at the time of the commission of
the offense, they are found guilty of murdering more than one
victim; and

(C) during the commission of the offense, MANUEL URIARTE
personally discharged a firearm that proximately caused: (i) great
bodily harm to another person; (ii) permanent disability to another
person; (iii) permanent disfigurement to another person; and (iv)
death to another person.

10. On or about May 31, 2001, at Chicago, in the Northern District of Illinois, Eastern

Division, defendants SAUL RODRIGUEZ and MANUEL URIARTE, and others, known and

13

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 14 of 50 PagelD #:854

unknown to the Grand Jury, committed and caused to be committed, the murder of Michael
Garcia. By the conduct described in this paragraph, the defendants committed an act and threat
involving murder, in violation of Title 720, Illinois Compiled Statutes, Sections 5/5-1, 5/5-2,
5/9-1, 5/9-1(b)(5), 5/9-1(b)(9), and 5/9-1(b)(11), and Title 730, Illinois Compiled Statutes,
Sections 5/5-8-1(a)(1)(b), 5/5-8-1(a)(1)(c)Gi), and 5/5-8-1(a)(1)(d)(iii), in that they killed an
individual, that is, Michael Garcia, without lawful justification and, in performing the acts which
caused the death, they: (i) intended to kill that individual and/or another; (ii) intended to do great
bodily harm to that individual and/or another; (iii) knew such acts would cause the death of that
individual and/or another; and (iv) knew such acts created a strong probability of death and great
bodily harm to that individual and/or another; and
(A) at the time of the commission of the offense, they had attained the
age of 18 or more, and: (i) they committed the murder pursuant to a
contract, agreement or understanding by which they were to
receive money and anything of value in return for committing the
murder and procured another to commit the murder for money and
anything of value; and (ii) they committed the murder in a cold,
calculated, and premeditated manner pursuant to a preconceived
plan, scheme, or design to take a human life by unlawful means,
and the conduct of the defendants created a reasonable expectation

that the death of a human being would result therefrom; and

14

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 15 of 50 PagelD #:855

(B) irrespective of the defendants’ age at the time of the commission of
the offense, they are found guilty of murdering more than one
victim.

11. In or around 2002, at Chicago, in the Northern District of Illinois, Eastern
Division, and elsewhere, defendants SAUL RODRIGUEZ, HECTOR URIARTE, JORGE
URIARTE, MANUEL URIARTE, and FARES UMAR, and others, known and unknown to the
Grand Jury, committed and caused to be committed, the kidnapping of Victim D. By the conduct
described in this paragraph, the defendants committed an act involving kidnapping, in violation
of Title 720, Illinois Compiled Statutes, Sections 5/5-1, 5/5-2, 5/ 10-1, 5/10-2, in that they
kidnapped an individual, that is, Victim D, that is they: (1) secretly confined the individual
against her will; and (2) by force and threat of imminent force carried the individual from one
place to another with intent secretly to confine her against her will; and

(A) kidnapped the individual for the purpose of obtaining ransom from the
individual or from any other person;

(B) inflicted great bodily harm, other than by the discharge of a firearm, and
committed another felony upon the individual;

(C) wore a hood, robe, and mask and concealed their identity;

(D) committed the offense while armed with a dangerous weapon, other than a
firearm, as defined in Section 33A-1 of the Criminal Code of 1961; and

(E) committed the offense while armed with a firearm.

12. In or around the Summer of 2003, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere, defendants SAUL RODRIGUEZ, GLENN LEWELLEN,

15

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 16 of 50 PagelD #:856

HECTOR URIARTE, JORGE URIARTE, FARES UMAR, and others, known and unknown to
the Grand Jury, committed and caused to be committed, the kidnapping of Victim G. By the
conduct described in this paragraph, the defendants committed an act involving kidnapping, in
violation of Title 720, Illinois Compiled Statutes, Sections 5/5-1, 5/5-2, 5/10-1, 5/ 10-2, in that
they kidnapped an individual, that is, Victim G, that is they: (1) secretly confined the individual
against his will; (2) by force and threat of imminent force carried the individual from one place to
another with intent secretly to confine him against his will; and (3) by deceit and enticement
induced the individual to go from one place to another with intent to secretly confine him against
his will; and
(A) kidnapped the individual for the purpose of obtaining ransom from the
individual or from any other person;
(B) inflicted great bodily harm, other than by the discharge of a firearm, and
committed another felony upon the individual;
(C) wore a hood, robe, and mask and concealed their identity; and
(D) committed the offense while armed with a firearm.

13. On or about November 18, 2003, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere, defendants SAUL RODRIGUEZ, FARES UMAR, and others,
known and unknown to the Grand Jury, committed and caused to be committed, the kidnapping
of Victim H. By the conduct described in this paragraph, the defendants committed an act
involving kidnapping, in violation of Title 720, Illinois Compiled Statutes, Sections 5/5-1, 5/5-2,
5/10-1, 5/10-2, in that they kidnapped an individual, that is, Victim H, that is they: (1) secretly

confined the individual against his will; (2) by force and threat of imminent force carried the

16

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 17 of 50 PagelD #:857

individual from one place to another with intent secretly to confine him against his will; and (3)
by deceit and enticement induced the individual to go from one place to another with intent
secretly to confine him against his will; and
(A) kidnaped the individual for the purpose of obtaining ransom from the
individual or from any other person;
(B) inflicted great bodily harm, other than by the discharge of a firearm, and
committed another felony upon the individual;
(C) wore a hood, robe, and mask and concealed their identity; and
(D) committed the offense while armed with a firearm.

14. In or around 2004, at Chicago, in the Northern District of Illinois, Eastern
Division, and elsewhere, defendants SAUL RODRIGUEZ, HECTOR URIARTE, JORGE
URIARTE, and others, known and unknown to the Grand Jury, committed and caused to be
committed, the kidnapping of Victim I. By the conduct described in this paragraph, the
defendants committed an act involving kidnapping, in violation of Title 720, Illinois Compiled
Statutes, Sections 5/5-1, 5/5-2, 5/10-1, 5/10-2, in that they kidnapped an individual, that is,
Victim I, that is they: (1) secretly confined the individual against his will; and (2) by force and
threat of imminent force carried the individual from one place to another with intent secretly to
confine him against his will; and

(A) kidnapped the individual for the purpose of obtaining ransom from the
individual or from any other person;
(B) inflicted great bodily harm, other than by the discharge of a firearm, and

committed another felony upon the individual;

17

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 18 of 50 PagelD #:858

(C) — wore a hood, robe, and mask and concealed their identity; and
(D) committed the offense while armed with a firearm.

15. In or around Summer 2006, at Joliet, in the Northern District of Illinois, Eastern
Division, and elsewhere, defendants SAUL RODRIGUEZ, HECTOR URIARTE, JORGE
URIARTE, and others, known and unknown to the Grand Jury, committed and caused to be
committed, the kidnapping of Victim M and Victim N. By the conduct described in this
paragraph, the defendants committed an act involving kidnapping, in violation of Title 720,
Illinois Compiled Statutes, Sections 5/5-1, 5/5-2, 5/10-1, 5/10-2, in that they kidnapped
individuals, that is, Victim M and Victim N, that is they: (1) secretly confined the individuals
against their will; and (2) by force and threat of imminent force carried the individuals from one
place to another with intent secretly to confine them against their will; and

(A) _ kidnapped the individuals for the purpose of obtaining ransom from those
individuals or from any other person;

(B) inflicted great bodily harm, other than by the discharge of a firearm, and
committed another felony upon the individuals;

(C) — wore a hood, robe, and mask and concealed their identity; and

(D) committed the offense while armed with a firearm.

16. On or about October 20, 2007, at Summit, in the Northern District of Illinois,
Eastern Division, and elsewhere, defendants SAUL RODRIGUEZ, HECTOR URIARTE,
JORGE URIARTE, ANDRES FLORES, TONY SPARKMAN, and others, known and unknown
to the Grand Jury, committed and caused to be committed, the kidnapping of Victim O, Victim P,

Victim Q, Victim R, Victim S, Victim T, and Victim U. By the conduct described in this

18

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 19 of 50 PagelD #:859

paragraph, the defendants committed an act involving kidnapping, in violation of Title 720,
Illinois Compiled Statutes, Sections 5/5-1, 5/5-2, 5/10-1, 5/10-2, in that they kidnapped
individuals, that is, Victim O, Victim P, Victim Q, Victim R, Victim 8, Victim T, and Victim U,
that is they: (1) secretly confined the individuals against their will; (2) by force and threat of
imminent force carried the individuals from one place to another with intent secretly to confine
them against their will; and (3) by deceit and enticement induced the individuals to go from one
place to another with intent secretly to confine them against their will; and
(A) kidnapped the individuals for the purpose of obtaining ransom from the
individuals or from any other person;
(B) inflicted great bodily harm, other than by the discharge of a firearm, and
committed another felony upon the individuals;
(C) wore a hood, robe, and mask and concealed their identity; and
(D) committed the offense while armed with a firearm.

17. In or around 2008, at Lyons, in the Northern District of Illinois, Eastern Division,
and elsewhere, defendants SAUL RODRIGUEZ, HECTOR URIARTE, JORGE URIARTE,
TONY SPARKMAN, and others, known and unknown to the Grand Jury, committed and caused
to be committed, the kidnapping of Victim V and Victim W. By the conduct described in this
paragraph, the defendants committed an act involving kidnapping, in violation of Title 720,
Illinois Compiled Statutes, Sections 5/5-1, 5/5-2, 5/10-1, 5/10-2, in that they kidnapped
individuals, that is, Victim V and Victim W, that is they: (1) secretly confined the individuals
against their will; and (2) by force and threat of imminent force carried the individuals from one

place to another with intent secretly to confine them against their will; and

19

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 20 of 50 PagelD #:860

(A) _ kidnaped the individuals for the purpose of obtaining ransom from the
individuals or from any other person;

(B) _ inflicted great bodily harm, other than by the discharge of a firearm, and
committed another felony upon the individuals; and

(C) committed the offense while armed with a firearm.

18. In or around 2004, in the Northern District of Illinois, Eastern Division, and
elsewhere, defendants SAUL RODRIGUEZ, GLENN LEWELLEN, and others, known and
unknown to the Grand Jury, did knowingly and intentionally possess with intent to distribute
controlled substances, namely, 5 kilograms or more of mixtures and substances containing
cocaine, a Schedule II Narcotic Drug Controlled Substance, in violation of Title 21, United States
Code, Section 841(a)(1) and Title 18, United States Code, Section 2.

19. In or around the Summer 2006, at Joliet, in the Northern District of Illinois,
Eastern Division, and elsewhere, defendants SAUL RODRIGUEZ, HECTOR URIARTE,
JORGE URIARTE, ANDRES FLORES, TONY SPARKMAN, and others, known and unknown
to the Grand Jury, did knowingly and intentionally possess with intent to distribute controlled
substances, namely, 5 kilograms or more of mixtures and substances containing cocaine, a
Schedule II Narcotic Drug Controlled Substance, in violation of Title 21, United States Code,

Section 841(a)(1) and Title 18, United States Code, Section 2.

20

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 21 of 50 PagelD #:861

20. On or about April 9, 2009, at Channahon, in the Northern District of Illinois,
Eastern Division, and elsewhere, defendants SAUL RODRIGUEZ, HECTOR URIARTE,
JORGE URIARTE, ANDRES FLORES, TONY SPARKMAN, and others, known and unknown
to the Grand Jury, did attempt to knowingly and intentionally possess with intent to distribute
controlled substances, namely, 5 kilograms or more of mixtures and substances containing
cocaine, a Schedule II Narcotic Drug Controlled Substance, in violation of Title 21, United States
Code, Section 841(a)(1) and 846, and Title 18, United States Code, Section 2.

All of the above in violation of Title 18, United States Code, Section 1962(d).

21

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 22 of 50 PagelD #:862

COUNT TWO

The SPECIAL JANUARY 2009 GRAND JURY further alleges:

1. The Grand Jury realleges and incorporates herein by reference the allegations
contained in paragraphs 1 through 5 of Count One of the Third Superseding Indictment.

2. _ At times relevant to this indictment, the Rodriguez Enterprise, constituted an
enterprise as defined in Title 18, United States Code, Section 1959(b)(2), namely the Rodriguez
Enterprise, that is, a group of individuals associated in fact which was engaged in, and the
activities of which affected, interstate and foreign commerce. The enterprise constituted an
ongoing organization whose members functioned as a continuing unit for a common purpose of
achieving the objectives of the enterprise.

3. _ At times relevant to this indictment, the above-described enterprise, through its
members and associates, engaged in racketeering activity as defined in Title 18, United States
Code, Sections 1959(b)(1) and 1961(1), namely, acts involving narcotics trafficking, in violation
of Title 21, United States Code, Sections 841 and 846, and acts involving obstruction of justice,

in violation of Title 18, United States Code, Section 1503.

22

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 23 of 50 PagelD #:863

4, On or about June 3, 2000, at Cicero, in the Northern District of Illinois, Eastern

Division,

SAUL RODRIGUEZ, and

MANUEL URIARTE,

also known as “Manny,”
defendants herein, and others known and unknown to the Grand Jury, as consideration for the
receipt of, and as consideration for a promise and agreement to pay, anything of pecuniary value
from the Rodriguez Enterprise, and for the purpose of gaining entrance to, and for maintaining
and increasing position in the Rodriguez Enterprise, an enterprise engaged in racketeering
activity, did knowingly and intentionally commit murder of an individual, that is, Juan Luevano,
in violation of the laws of the State of Illinois (Title 720, Illinois Compiled Statutes, Sections
5/9-1, 5/5-1, and 5/5-2);

All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.

23

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 24 of 50 PagelD #:864

COUNT THREE

The SPECIAL JANUARY 2009 GRAND JURY further alleges:

1. The Grand Jury realleges and incorporates herein by reference the allegations
contained in paragraphs 1 through 5 of Count One and paragraphs 2 and 3 of Count Two of the
Third Superseding Indictment.

2. On or about May 31, 2001, at Chicago, in the Northern District of Illinois, Eastern
Division, and elsewhere,

SAUL RODRIGUEZ, and
MANUEL URIARTE,
also known as “Manny,”
defendants herein, and others known and unknown to the Grand Jury, as consideration for the
receipt of, and as consideration for a promise and agreement to pay, anything of pecuniary value
from the Rodriguez Enterprise, and for the purpose of maintaining and increasing position in the
Rodriguez Enterprise, an enterprise engaged in racketeering activity, did knowingly and
intentionally commit murder of an individual, that is, Michael Garcia, in violation of the laws of

the State of Illinois (720, Illinois Compiled Statutes, Sections 5/9-1, 5/5-1, and 5/5-2);

All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.

24

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 25 of 50 PagelD #:865

COUNT FOUR

The SPECIAL JANUARY 2009 GRAND JURY further alleges:
In or around Summer 2006, at Joliet, in the Northern District of Illinois, Eastern Division,
and elsewhere,

SAUL RODRIGUEZ,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,”
ANDRES FLORES,
also known as “Turtle,”
TONY SPARKMAN,
also known as “Black” and “Big Black,” and
ROBERT CARDENA,

defendants herein, and others known and unknown to the Grand Jury, did knowingly and
intentionally possess with intent to distribute controlled substances, namely, 5 kilograms or more
of mixtures and substances containing cocaine, a Schedule II Narcotic Drug Controlled
Substance;

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States

Code, Section 2.

25

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 26 of 50 PagelD #:866

COUNT FIVE

The SPECIAL JANUARY 2009 GRAND JURY further alleges:

1. The Grand Jury realleges and incorporates herein by reference the allegations
contained in paragraphs 1 through 5 of Count One and paragraphs 2 and 3 of Count Two of the
Third Superseding Indictment.

2. In or around Summer 2006, at Joliet, in the Northern District of IHinois, Eastern

Division, and elsewhere,

SAUL RODRIGUEZ,
HECTOR URIARTE,
also known as “Gordo” and “G,” and
JORGE URIARTE,

also known as “Lefty,”
defendants herein, and others known and unknown to the Grand Jury, as consideration for the
receipt of, and as consideration for a promise and agreement to pay, anything of pecuniary value
from the Rodriguez Enterprise, and for the purpose of maintaining and increasing position in the
Rodriguez Enterprise, an enterprise engaged in racketeering activity, did knowingly and
intentionally kidnap individuals, that is, Victim M and Victim N, in violation of the laws of the

State of Illinois (720, Illinois Compiled Statutes, Sections 5/10-1, 5/10-2);

All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.

26

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 27 of 50 PagelD #:867

COUNT SIX
The SPECIAL JANUARY 2009 GRAND JURY further alleges:
On or about November 15, 2006, in the Northern District of Illinois, Eastern Division,

and elsewhere,

WALTER JOHNSON,
also known as “Wheels,”

defendant herein, knowingly engaged and attempted to engage in a monetary transaction in and
affecting interstate commerce, in criminally derived property of a value greater than $10,000,
which property was derived from a specified unlawful activity, namely conspiracy to distribute
and possess with intent to distribute narcotics, in violation of Title 21, United States Code,
Section 846, in that defendant transferred and caused to be transferred $31,000;

In violation of Title 18, United States Code, Section 1957.

27

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 28 of 50 PagelD #:868

COUNT SEVEN

The SPECIAL JANUARY 2009 GRAND JURY further alleges:

1. The Grand Jury realleges and incorporates herein by reference the allegations
contained in paragraphs 1 through 5 of Count One and paragraphs 2 and 3 of Count Two of the
Third Superseding Indictment.

2. On or about October 20, 2007, at Summit, in the Northern District of Illinois,
Eastern Division, and elsewhere,

SAUL RODRIGUEZ,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,”
ANDRES FLORES,
also known as “Turtle,” and
TONY SPARKMAN,
also known as “Black” and “Big Black,”
defendants herein, and others known and unknown to the Grand Jury, as consideration for the
receipt of, and as consideration for a promise and agreement to pay, anything of pecuniary value
from the Rodriguez Enterprise, and for the purpose of maintaining and increasing position in the
Rodriguez Enterprise, an enterprise engaged in racketeering activity, did knowingly and
intentionally kidnap individuals, that is, Victim O, Victim P, Victim Q, Victim R, Victim S,
Victim T, and Victim U, in violation of the laws of the State of Illinois (720, Illinois Compiled

Statutes, Sections 5/10-1, 5/10-2);

All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.

28

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 29 of 50 PagelD #:869

COUNT EIGHT

The SPECIAL JANUARY 2009 GRAND JURY further alleges:
On or about October 20, 2007, at Summit, in the Northern District of Illinois, Eastern
Division,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,” and
TONY SPARKMAN,
also known as “Black” and “Big Black,”
did use and carry a firearm during and in relation to a crime of violence for which they may be
prosecuted in a court of the United States, namely, kidnapping in aid of racketeering, in violation
of Title 18, United States Code, Section 1959(a)(1), as charged in Count Seven of this Third

Superseding Indictment;

All in violation of Title 18, United States Code, Sections 924(c) and 2.

29

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 30 of 50 PagelD #:870

COUNT NINE

The SPECIAL JANUARY 2009 GRAND JURY further alleges:

On or about October 23, 2007, at Aurora, in the Northern District of Illinois, Eastern
Division, and elsewhere,

SAUL RODRIGUEZ,

defendant herein, and others known and unknown to the Grand Jury, did knowingly and
intentionally possess with intent to distribute controlled substances, namely, 5 kilograms or more
of mixtures and substances containing cocaine, a Schedule II Narcotic Drug Controlled
Substance;

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States

Code, Section 2.

30

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 31 of 50 PagelD #:871

COUNT TEN

The SPECIAL JANUARY 2009 GRAND JURY further alleges:

1. The Grand Jury realleges and incorporates herein by reference the allegations
contained in paragraphs 1 through 5 of Count One and paragraphs 2 and 3 of Count Two of the
Third Superseding Indictment.

2. In or around 2008, at Lyons, in the Northern District of Illinois, Eastern Division,
and elsewhere,

SAUL RODRIGUEZ,

HECTOR URIARTE,

also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,” and
TONY SPARKMAN,
also known as “Black” and “Big Black,”

defendants herein, and others known and unknown to the Grand Jury, as consideration for the
receipt of, and as consideration for a promise and agreement to pay, anything of pecuniary value
from the Rodriguez Enterprise, and for the purpose of maintaining and increasing position in the
Rodriguez Enterprise, an enterprise engaged in racketeering activity, did knowingly and
intentionally kidnap individuals, that is, Victim V and Victim W, in violation of the laws of the

State of Illinois (720, Iinois Compiled Statutes, Sections 5/10-1, 5/ 10-2);

All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.

31

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 32 of 50 PagelD #:872

COUNT ELEVEN

The SPECIAL JANUARY 2009 GRAND JURY further alleges:
In or around 2008, at Lyons, in the Northern District of Illinois, Eastern Division,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,” and
TONY SPARKMAN,
also known as “Black” and “Big Black,”
did use and carry a firearm during and in relation to a crime of violence for which they may be
prosecuted in a court of the United States, namely, kidnapping in aid of racketeering, in violation
of Title 18, United States Code, Section 1959(a)(1), as charged in Count Ten of this Third

Superseding Indictment;

All in violation of Title 18, United States Code, Sections 924(c) and 2.

32

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 33 of 50 PagelD #:873

COUNT TWELVE

The SPECIAL JANUARY 2009 GRAND JURY further alleges:
On or about April 9, 2009, at Channahon, in the Northern District of Illinois, Eastern

Division, and elsewhere,

SAUL RODRIGUEZ,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,”
ANDRES FLORES,
also known as “Turtle,” and
TONY SPARKMAN,
also known as “Black” and “Big Black,” and
JORGE LOPEZ,
also known as “Oso” and “O,”

defendants herein, did attempt to knowingly and intentionally possess with intent to distribute
controlled substances, namely, 5 kilograms or more of mixtures and substances containing
cocaine, a Schedule II Narcotic Drug Controlled Substance, in violation of Title 21, United States
Code, Section 841(a)(1);

In violation of Title 21, United States Code, Section 846 and Title 18, United States

Code, Section 2.

33

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 34 of 50 PagelD #:874

COUNT THIRTEEN
The SPECIAL JANUARY 2009 GRAND JURY further alleges:
1, Beginning no later than 1996, and continuing until at least on or about April 9,

2009, in the Northern District of Illinois, Eastern Division, and elsewhere,

SAUL RODRIGUEZ,
GLENN LEWELLEN,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,”
ANDRES FLORES,
also known as “Turtle,”
TONY SPARKMAN,
also known as “Black” and “Big Black,”
FARES UMAR,
also known as “Sumo,”
WALTER JOHNSON,
also known as “Wheels,”
JORGE LOPEZ,
also known as “Oso” and “O,” and
ROBERT CARDENA,

defendants herein, did conspire with each other, with Andres Torres, Pedro Victoria, Ruben
Villarreal, and others known and unknown to the Grand Jury, to knowingly and intentionally
possess with intent to distribute and to distribute controlled substances, namely, 5 kilograms or
more of mixtures and substances containing cocaine, a Schedule II Narcotic Drug Controlled
Substance, and 1 kilogram or more of mixtures and substances containing heroin, a Schedule I
Narcotic Drug Controlled Substance, in violation of Title 21, United States Code, Section

841(a)(1).

34

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 35 of 50 PagelD #:875

2. It was part of the conspiracy that defendant SAUL RODRIGUEZ led a drug
trafficking organization (hereinafter, “the Rodriguez DTO”) that obtained wholesale quantities of
cocaine and heroin in the Chicago area for resale in the Chicago area and elsewhere.

3. It was further part of the conspiracy that defendant SAUL RODRIGUEZ, on
behalf of the Rodriguez DTO, arranged for the purchase of wholesale amounts of cocaine and
heroin from various suppliers, including Pedro Victoria. The cocaine and heroin was commonly
“fronted” to the Rodriguez DTO, meaning the cocaine and heroin was provided to the Rodriguez
DTO with the understanding that the Rodriguez DTO would make a complete payment for the
cocaine or heroin later after the cocaine or heroin was resold.

4, It was further part of the conspiracy that defendant SAUL RODRIGUEZ, on
behalf of the Rodriguez DTO, arranged to obtain wholesale quantities of cocaine from various
cocaine suppliers and their workers in the Chicago area through robberies and kidnappings and
through threats of violence, violence, and intimidation.

5. It was further part of the conspiracy that defendants SAUL RODRIGUEZ,
GLENN LEWELLEN, HECTOR URIARTE, JORGE URIARTE, ANDRES FLORES, TONY
SPARKMAN, FARES UMAR, JORGE LOPEZ, ROBERT CARDENA, and Andres Torres,
obtained wholesale quantities of cocaine in the Chicago area through threats of violence,
violence, and intimidation.

6. It was further part of the conspiracy that defendant GLENN LEWELLEN held
himself out as a police officer when obtaining wholesale quantities of cocaine in the Chicago

area.

35

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 36 of 50 PagelD #:876

7. It was further part of the conspiracy that defendant SAUL RODRIGUEZ
distributed wholesale quantities of cocaine and heroin to customers of the Rodriguez DTO in the
Chicago area, including defendant WALTER JOHNSON for resale to others. The cocaine and
heroin were commonly partially fronted to wholesale customers of the Rodriguez DTO.

8. It was further part of the conspiracy that defendant SAUL RODRIGUEZ, and
others, including Andres Torres and Ruben Villarreal, acting at the direction of SAUL
RODRIGUEZ, regularly picked up wholesale quantities of cocaine and heroin from suppliers,
including Pedro Victoria, and then delivered wholesale quantities of cocaine and heroin to
customers of the Rodriguez DTO in the Chicago area, including defendant WALTER
JOHNSON.

9. It was further part of the conspiracy that defendant SAUL RODRIGUEZ, and
others, including Andres Torres and Ruben Villarreal, acting at the direction of SAUL
RODRIGUEZ, regularly collected United States Currency derived from the sale of cocaine and
heroin (“narcotics proceeds”) from customers of the Rodriguez DTO in the Chicago area,
including defendant WALTER JOHNSON, and then delivered the narcotics proceeds to the
suppliers of cocaine and heroin, including Pedro Victoria.

10. ‘It was further part of the conspiracy that defendant SAUL RODRIGUEZ and
others, including Andres Torres and Ruben Villarreal, acting at the direction of SAUL
RODRIGUEZ, stored cocaine, heroin, and narcotics proceeds at warehouses, homes, and garages
in the Chicago area under the control of the Rodriguez DTO.

11. ‘It was further part of the conspiracy that certain defendants, including SAUL

RODRIGUEZ, GLENN LEWELLEN, HECTOR URIARTE, JORGE URIARTE, ANDRES

36

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 37 of 50 PagelD #:877

FLORES, TONY SPARKMAN, FARES UMAR, and ROBERT CARDENA, obtained, used,
carried, possessed, brandished, and discharged firearms in connection with the Rodriguez DTO’s
illegal activity, including, but not limited to, kidnapping, robbery, and illegal trafficking of
controlled substances.

12. It was further part of the conspiracy that certain defendants, including SAUL
RODRIGUEZ, HECTOR URIARTE, JORGE URIARTE, ANDRES FLORES, WALTER
JOHNSON, and Andres Torres obtained and used trap compartments in homes and vehicles to
conceal and store cocaine, heroin, narcotics proceeds, and firearms.

13. It was further part of the conspiracy that GLENN LEWELLEN and others
provided certain defendants, including SAUL RODRIGUEZ, and Andres Torres with
information about the fact of, and the extent of, federal investigations into the Rodriguez DTO’s
activities. Defendant SAUL RODRIGUEZ and Andres Torres used that information to evade
detection by law enforcement.

14. _ It was further part of the conspiracy that certain defendants, including GLENN
LEWELLEN, obstructed justice in order to protect and conceal defendant SAUL RODRIGUEZ
and the Rodriguez DTO’s drug trafficking activities.

15. It was further part of the conspiracy that the defendants and other co-conspirators
would and did conceal and hide, and cause to be concealed and hidden, the purposes of the acts
done in furtherance of the conspiracy, and would and did use coded language, surveillance and
counter-surveillance techniques, and other means to avoid detection and apprehension by law

enforcement authorities and otherwise to provide security to members of the conspiracy;

37

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 38 of 50 PagelD #:878

All in violation of Title 21, United States Code, Section 846 and Title 18, United States

Code, Section 2.

38

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 39 of 50 PagelD #:879

FORFEITURE ALLEGATION ONE

The SPECIAL JANUARY 2009 GRAND JURY further alleges:

1. The allegations of Count One of this Third Superseding Indictment are realleged
and incorporated herein by reference for the purpose of alleging that certain property is subject to
forfeiture to the United States, pursuant to Title 18, United States Code, Section 1963.

2. As a result of their violation of Title 18, United States Code, Section 1962(d), as
alleged in the foregoing Third Superseding Indictment,

SAUL RODRIGUEZ,
GLENN LEWELLEN,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,”
MANUEL URIARTE,
also known as “Manny,”
ANDRES FLORES,
also known as “Turtle,”
TONY SPARKMAN,
also known as “Black” and “Big Black,” and
FARES UMAR,
also known as “Sumo,”
defendants herein, shall forfeit to the United States, pursuant to Title 18, United States Code,
Section 1963(a)(1), (a)(2) and (a)(3): any interest acquired or maintained in violation of section
1962; any interest in, security of, claim against, or property or contractual right of any kind
affording a source of influence over, any enterprise which the person has established, operated,
controlled, conducted, or participated in the conduct of, in violation of section 1962; and any

property constituting, or derived from, any proceeds which the person obtained, directly or

indirectly, from racketeering activity or unlawful debt collection in violation of section 1962.

39

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 40 of 50 PagelD #:880

3, The interests of the defendants, subject to forfeiture to the United States pursuant
to Title 18, United States Code, Section 1963(a)(1), (a)(2), (a)(3), include, but are not limited to
$9,537,000 in United States currency representing proceeds of the racketeering enterprise, and
the following property:

a. one 1972 Chevrolet Chevelle, VIN:1D37H2R507244;

b. ALL THAT CERTAIN REAL PROPERTY SITUATED IN THE COUNTY
OF LYON, STATE OF NEVADA, MORE PARTICULARLY DESCRIBED AS
FOLLOWS:

PARCEL NO. 1:

ALL THAT REAL PROPERTY SITUATED IN THE NORTH ONE-
HALF OF THE NORTHWEST ONE-QUARTER SECTION 27,
TOWNSHIP 13 NORTH, RANGE 25 EAST, M.D.B.&M., LYON
COUNTY NEVADA, DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT IN THE SOUTH LINE OF THE NORTH
ONE-HALF OF THE NORTHWEST ONE-QUARTER OF SAID
SECTION 27 FROM WHICH THE SOUTHWEST CORNER OF RIO
VISTA RANCHOS AS SAID CORNER IS SHOWN AND SO
DESIGNATED UPON THE OFFICIAL PLAT THEREOF FILED AS
DOCUMENT NO. 89357 LYON COUNTY RECORDS; BEARS SOUTH
89" 49' 44" EAST 1615.28 FEET DISTANT; THENCE, FROM SAID
POINT OF BEGINNING ALONG THE SOUTH LINE OF THE NORTH
ONE-HALF OF THE NORTHWEST ONE-QUARTER OF SAID
SECTION 27 NORTH 89" 49' 44" WEST 365.00 FEET TO A POINT IN
THE WEST LINE OF SAID SECTION 27; THENCE ALONG SAID
WEST LINE NORTH 0°06' 35" WEST 1308.58 FEET TO THE
NORTHWEST CORNER OF SAID SECTION 27; THENCE , ALONG
THE NORTH LINE OF SAID SECTION 27 SOUTH 89 ° 37' 02" EAST
371.41 FEET; THENCE LEAVING SAID NORTH LINE SOUTH 0 ° 10!
16" WEST 1307.19 FEET TO THE POINT OF BEGINNING.

PARCEL NO. 2:

ALL THAT REAL PROPERTY SITUATED IN THE NORTH ONE-
HALF OF THE NORTHWEST ONE-QUARTER OF SECTION 27,
TOWNSHIP 13 NORTH, RANGE 25 EAST, M.D.B. & M., LYON
COUNTY, NEVADA, DESCRIBED AS FOLLOWS:

40

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 41 of 50 PagelD #:881

BEGINNING AT A POINT IN THE SOUTH LINE OF THE NORTH
ONE-HALF OF THE NORTHWEST ONE-QUARTER OF SAID
SECTION 27 FROM WHICH THE SOUTHWEST CORNER OF RIO
VISTA RANCHOS AS SAID CORNER IS SHOWN AND SO
DESIGNATED UPON THE OFFICIAL PLAT THEREOF, FILED AS
DOCUMENT NO. 89357, LYON COUNTY RECORDS, BEARS
SOUTH 89 * 49' 44" EAST 1075.82 FEET DISTANT; THENCE FROM
SAID POINT OF BEGINNING ALONG THE SOUTH LINE OF THE
NORTH ONE-QUARTER OF THE NORTHWEST ONE-QUARTER OF
SAID SECTION 27 NORTH 89 °49' 44" WEST 539.46; THENCE
LEAVING SAID SOUTH LINE NORTH 0 * 10' 16" EAST 1307.19 FEET
TO A POINT IN THE NORTH LINE OF SAID SECTION 27; THENCE
ALONG SAID NORTH LINE SOUTH 89 ° 37' 02" EAST 539.47 FEET;
THENCE LEAVING SAID NORTH LINE SOUTH 0° 10' 16" WEST
1305.20 FEET TO THE POINT OF BEGINNING

Permanent Real Estate Index Numbers: 001-471-06 and 001-471-07;

c. one Ruger .357 caliber Magnum handgun, serial number 572-38922, and
assorted ammunition; and

d. one Taurus .40 caliber PT140 handgun, serial number STF24177, and assorted
ammunition. ,

41

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 42 of 50 PagelD #:882

4. if any of the property described above as being subject to forfeiture pursuant to
Title 18, United States Code, Section 1963(a)(1), (a)(2), (a)(3), as a result of any act or omission
of the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred to, sold to, or deposited with a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value;

e. has been commingled with other property which cannot be subdivided without
difficulty;

it is the intent of the United States to seek forfeiture of substitute property belonging to the
defendants under the provisions of Title 18, United States Code, Section 1963(m) including but

not limited to the following properties:

1. LOTS 66, 101, 105 AND 112 IN BRIDGES OF MOKENA, BEING A
SUBDIVISION OF PART OF THE NORTHWEST QUARTER OF
SECTION 30, TOWNSHIP 35 NORTH, RANGE 12 EAST OF THE
THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE PLAT
THEREOF RECORDED NOVEMBER 21, 2005, AS DOCUMENT
NUMBER R2005205381, CERTIFICATES OF CORRECTION
RECORDED DECEMBER 23, 2005, AS DOCUMENT NO. R2005-
226863, FEBRUARY 6, 2006, AS DOCUMENT NO. R2006-023129,
MARCH 16, 2006, AS DOCUMENT R2006-44613, AND APRIL 10,
2007, AS DOCUMENT R2007-054421, IN WILL COUNTY, ILLINOIS.

PIN: 09-30-103-003; Address: 11789 London Bridge Drive, Mokena, Illinois;
PIN: 09-30-105-015; Address: 21701 London Bridge Drive, Mokena, Illinois;
PIN: 09-30-105-019; Address: 21753 London Bridge Drive, Mokena, Illinois; and

PIN: 09-30-105-026; Address: 21777 London Bridge Drive, Mokena, Illinois;

42

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 43 of 50 PagelD #:883

2. LOT 110 IN SECOND ADDITION TO ARBURY HILLS, BEING A
SUBDIVISION OF PART OF THE SOUTHWEST 1/4 OF SECTION 10,
TOWNSHIP 35 NORTH, RANGE 12, EAST OF THE THIRD
PRINCIPAL MERIDIAN, IN WILL COUNTY, ILLINOIS.

Commonly known as: 19628 Walnut Street, Mokena, Illinois
PIN: 09-10-311-010-0000; and

3. LOT 36 IN BLOCK 11 IN CORWITH’S RESUBDIVISION OF BLOCKS
81 TO 120 AND 124 TO 140, 144 TO 150 AND 152 TO 157, ALL
INCLUSIVE IN THE TOWN OF BRIGHTON IN THE WEST HALF OF
THE SOUTHEAST QUARTER OF SECTION 36, TOWNSHIP 39

NORTH, RANGE 13, EAST OF THE THIRD PRINCIPAL MERIDIAN
IN COOK COUNTY ILLINOIS.

Commonly known as: 2737 West 37" Place, Chicago, Illinois
PIN: 16-36-417-015-0000

All pursuant to Title 18, United States Code, Section 1963.

43

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 44 of 50 PagelD #:884

FORFEITURE ALLEGATION TWO
The SPECIAL JANUARY 2009 GRAND JURY further alleges:
1. The allegations of Counts Four, Nine, Twelve, and Thirteen of this Third
Superseding Indictment are realleged and incorporated herein by reference for the purpose of
alleging that certain property is subject to forfeiture to the United States, pursuant to Title 21,

United States Code, Section 853.

2. As a result of their violations of Title 21, United States Code, Sections 846, and
841(a)(1) as alleged in the foregoing Third Superseding Indictment,

SAUL RODRIGUEZ,
GLENN LEWELLEN,
HECTOR URIARTE,
also known as “Gordo” and “G,”
JORGE URIARTE,
also known as “Lefty,”
ANDRES FLORES,
also known as “Turtle,”
TONY SPARKMAN,
also known as “Black” and “Big Black,”
FARES UMAR,
also known as “Sumo,”
WALTER JOHNSON,
also known as “Wheels,”
JORGE LOPEZ,
also known as “Oso” and “O,” and
ROBERT CARDENA,

defendants herein, shall forfeit to the United States, pursuant to Title 21, United States Code,
Section 853(a)(1) and (2): (1) any and all of property constituting and derived from any proceeds
the defendants obtained, directly and indirectly, as a result of the said violations; and (2) any and
all property used, and intended to be used, in any manner or part to commit and to facilitate the

commission of the said violations.

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 45 of 50 PagelD #:885

3. The interests of the defendants subject to forfeiture to the United States pursuant
to Title 21, United States Code, Section 853, include, but are not limited to $9,425,000 in United
States currency representing proceeds of the narcotics distribution organization, and the
following property:

a. funds in the amount of $40,060;
b. funds in the amount of $1,570;

c. jewelry valued at $426,045 seized from Walter Johnson’s residence at the time
of his arrest;

d. one diamond tennis bracelet seized from safe deposit box #5216 at Bank of
America;

e. one 2008 Audi Q7, VIN: WA1BV74L18D026127;
f. one 2005 Audi A4, VIN: WAUAF 78EX5A535265;
g. one 1972 Chevrolet Chevelle, VIN: 1D37H2R507244;

h. real property commonly known as 22550 Nature Creek Circle, Frankfort,
Illinois and legally described as:

LOT 31 IN LAKEVIEW ESTATES UNIT 4, BEING A SUBDIVISION
IN THE NORTHEAST 1/4 OF SECTION 35, TOWNSHIP 35 NORTH,
RANGE 12 EAST OF THE THIRD PRINCIPAL MERIDIAN
ACCORDING TO THE PLAT THEREOF RECORDED JUNE 16, 2005
AS DOCUMENT R2005-100833, IN WILL COUNTY, ILLINOIS.

Permanent Real Estate Index Number: 09-35-207-027-0000

i. real property commonly known as 291 Maryview Parkway, Matteson,
Illinois and legally described as:

LOT 57 IN PROVIDENCE MANOR PHASE 2 BEING A SUBDIVISION
OF PART OF THE NORTHWEST 1/4 AND THE NORTH % OF THE
SOUTHWEST 1/4 OF SECTION 16, TOWNSHIP 35 NORTH, RANGE
13, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
COUNTY, ILLINOIS.

45

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 46 of 50 PagelD #:886

Permanent Real Estate Index Number: 31-16-103-002 and 31-16-103-004

j. ALL THAT CERTAIN REAL PROPERTY SITUATED IN THE COUNTY OF
LYON, STATE OF NEVADA, MORE PARTICULARLY DESCRIBED AS
FOLLOWS:

PARCEL NO. 1:

ALL THAT REAL PROPERTY SITUATED IN THE NORTH ONE-
HALF OF THE NORTHWEST ONE-QUARTER SECTION 27,
TOWNSHIP 13 NORTH, RANGE 25 EAST, M.D.B.&M., LYON
COUNTY NEVADA, DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT IN THE SOUTH LINE OF THE NORTH
ONE- HALF OF THE NORTHWEST ONE-QUARTER OF SAID
SECTION 27 FROM WHICH THE SOUTHWEST CORNER OF RIO
VISTA RANCHOS AS SAID CORNER IS SHOWN AND SO
DESIGNATED UPON THE OFFICIAL PLAT THEREOF FILED AS
DOCUMENT NO. 89357 LYON COUNTY RECORDS; BEARS SOUTH
89" 49' 44" EAST 1615.28 FEET DISTANT; THENCE, FROM SAID
POINT OF BEGINNING ALONG THE SOUTH LINE OF THE NORTH
ONE-HALF OF THE NORTHWEST ONE-QUARTER OF SAID
SECTION 27 NORTH 89" 49! 44" WEST 365.00 FEET TO A POINT IN
THE WEST LINE OF SAID SECTION 27; THENCE ALONG SAID
WEST LINE NORTH 0°06' 35" WEST 1308.58 FEET TO THE
NORTHWEST CORNER OF SAID SECTION 27; THENCE , ALONG
THE NORTH LINE OF SAID SECTION 27 SOUTH 89 * 37' 02" EAST
371.41 FEET; THENCE LEAVING SAID NORTH LINE SOUTH 0 °* 10'
16" WEST 1307.19 FEET TO THE POINT OF BEGINNING.

PARCEL NO. 2:

ALL THAT REAL PROPERTY SITUATED IN THE NORTH ONE-
HALF OF THE NORTHWEST ONE-QUARTER OF SECTION 27,
TOWNSHIP 13 NORTH, RANGE 25 EAST, M.D.B. & M., LYON
COUNTY, NEVADA, DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT IN THE SOUTH LINE OF THE NORTH
ONE-HALF OF THE NORTHWEST ONE-QUARTER OF SAID
SECTION 27 FROM WHICH THE SOUTHWEST CORNER OF RIO
VISTA RANCHOS AS SAID CORNER IS SHOWN AND SO
DESIGNATED UPON THE OFFICIAL PLAT THEREOF, FILED AS
DOCUMENT NO. 89357, LYON COUNTY RECORDS, BEARS
SOUTH 89 ° 49' 44" EAST 1075.82 FEET DISTANT; THENCE FROM

46

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 47 of 50 PagelD #:887

SAID POINT OF BEGINNING ALONG THE SOUTH LINE OF THE
NORTH ONE-QUARTER OF THE NORTHWEST ONE-QUARTER OF
SAID SECTION 27 NORTH 89° 49' 44" WEST 539.46; THENCE
LEAVING SAID SOUTH LINE NORTH 0 * 10' 16" EAST 1307.19 FEET
TO A POINT IN THE NORTH LINE OF SAID SECTION 27; THENCE
ALONG SAID NORTH LINE SOUTH 89 * 37' 02" EAST 539.47 FEET;
THENCE LEAVING SAID NORTH LINE SOUTH 0° 10' 16" WEST
1305.20 FEET TO THE POINT OF BEGINNING

Permanent Real Estate Index Numbers: 001-471-06 and 001-471-07;

k. real property commonly known as 10715 South Michigan, Chicago,
Illinois and legally described as:

THE SOUTH 50 FEET OF LOT 16 (EXCEPT THE NORTH 25 FEET)
IN THE HENGEVELD’S SUBDIVISION OF LOT 5 IN PETER
DEJONG’S SUBDIVISION OF LOT 9 IN ASSESSOR’S DIVISION OF
THE WEST QUARTER OF SECTION 15, TOWNSHIP 37 NORTH,
RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
COUNTY, ILLINOIS.

Permanent Real Estate Index Number: 25-1 5-302-038-0000;

1. real property commonly known as 6636 South Parnell, Chicago, Illinois
and legally described as:

LOT 8 (EXCEPT THE NORTH 29.26 FEET AND ALSO EXCEPT THE
WEST 30 FEET OF SAID LOT) THE NORTH LINE THEREOF BEING
THE CENTER LINE OF PARTY WALL ON THE NORTH LINE OF
PERRY’S RESUBDIVISION OF BLOCK 18 IN LINDEN GROVE A
SUBDIVISION OF THE SOUTH 90 ACRES AND THE WEST 35
ACRES OF THE NORTH 70 ACRES OF THE NORTHWEST 1/4 OF
SECTION 21, TOWNSHIP 38 NORTH, RANGE 14, EAST OF THE
THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY, ILLINOIS.

Permanent Real Estate Index Number: 20-21-126-033; and

m. LOT 5 INENGLEWOOD ON THE HILL, A SUBDIVISION OF THE
EAST % OF THE SOUTHWEST 1/4 OF THE NORTHWEST 1/4 OF
THE SOUTHWEST 1/4 OF SECTION 20, TOWNSHIP 38 NORTH,
RANGE 14, EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK
COUNTY, ILLINOIS.

AT

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 48 of 50 PagelD #:888

4.

Commonly known as; 1413 W. Marquette Rd., Chicago, Illinois
PIN: 20-20-303-005-0000;

n. one Ruger .357 caliber Magnum handgun, serial number 572-38922, and
assorted ammunition; and

o. one Taurus .40 caliber PT140 handgun, serial number STF24177, and assorted
ammunition.

If any of the forfeitable property described above as being subject to forfeiture

pursuant to Title 21, United States Code, Section 853(a), as a result of any act or omission of the

defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

oO

. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

oD

. has been commingled with other property which cannot be subdivided
without difficulty,

it is the intent of the United States to seek forfeiture of substitute property belonging to the

defendant under the provisions of Title 21, United States Code, Section 853(p)including but not

limited to the following properties:

1.

LOTS 66, 101, 105 AND 112 IN BRIDGES OF MOKENA, BEING A
SUBDIVISION OF PART OF THE NORTHWEST QUARTER OF
SECTION 30, TOWNSHIP 35 NORTH, RANGE 12 EAST OF THE
THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE PLAT
THEREOF RECORDED NOVEMBER 21, 2005, AS DOCUMENT
NUMBER R2005205381, CERTIFICATES OF CORRECTION
RECORDED DECEMBER 23, 2005, AS DOCUMENT NO. R2005-
226863, FEBRUARY 6, 2006, AS DOCUMENT NO. R2006-023129,
MARCH 16, 2006, AS DOCUMENT R2006-44613, AND APRIL 10,
2007, AS DOCUMENT R2007-054421, IN WILL COUNTY, ILLINOIS.

48

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 49 of 50 PagelD #:889

PIN: 09-30-103-003; Address: 11789 London Bridge Drive, Mokena, Illinois;
PIN: 09-30-105-015; Address: 21701 London Bridge Drive, Mokena, Illinois;
PIN: 09-30-105-019; Address: 21753 London Bridge Drive, Mokena, Illinois; and
PIN: 09-30-105-026; Address: 21777 London Bridge Drive, Mokena, Illinois;
2. LOT 110 IN SECOND ADDITION TO ARBURY HILLS, BEING A
SUBDIVISION OF PART OF THE SOUTHWEST 1/4 OF SECTION 10,
TOWNSHIP 35 NORTH, RANGE 12, EAST OF THE THIRD
PRINCIPAL MERIDIAN, IN WILL COUNTY, ILLINOIS.
Commonly known as: 19628 Walnut Street, Mokena, Illinois
PIN: 09-10-311-010-0000:
3. LOT 36 IN BLOCK 11 IN CORWITH’S RESUBDIVISION OF BLOCKS
81 TO 120 AND 124 TO 140, 144 TO 150 AND 152 TO 157, ALL
INCLUSIVE IN THE TOWN OF BRIGHTON IN THE WEST HALF OF
THE SOUTHEAST QUARTER OF SECTION 36, TOWNSHIP 39
NORTH, RANGE 13, EAST OF THE THIRD PRINCIPAL MERIDIAN
IN COOK COUNTY ILLINOIS.
Commonly known as: 2737 West 37" Place, Chicago, Illinois

PIN: 16-36-417-015-0000; and

49

Case: 1:09-cr-00332 Document #: 271 Filed: 01/13/11 Page 50 of 50 PagelD #:890

4. LOT 210 IN BLOCK 3 IN YOUNG AND CLARKSON’S THIRD ADDITION
TO KENSINGTON, BEING A SUBDIVISION OF THE NORTHWEST 1/4 OF
THE NORTHEAST 1/4 (EXCEPT THE EAST 13.565 FEET) OF SECTION 28,
TOWNSHIP 37 NORTH, RANGE 14, EAST OF THE THIRD PRINCIPAL
MERIDIAN, IN COOK COUNTY, ILLINOIS.

Commonly known as: 11933 S. LaSalle, Chicago, Illinois
PIN: 25-28-205-017-0000;
All pursuant to Title 21, United States Code, Section 853.

A TRUE BILL:

FOREPERSON

UNITED STATES ATTORNEY

50

